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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

SHANNON PEREZ, ET AL.,                        §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §    Civil Action No. SA-11-CV-360
                                              §
GREG ABBOTT, ET AL.,                          §
                                              §
        Defendants.                           §


                                          ORDER

       On August 30, 2018, this Court ordered that, if no action was taken by the Legislature

to introduce a redistricting bill directed at remedying the unconstitutional racial

gerrymandering found in HD90 in Plan H358, the parties should be prepared to submit

proposals. When it became apparent that there would be no legislative remedy, the Court

ordered the parties to submit proposals and indicated that it would then set a hearing to

consider them. Docket no. 1619. The parties have now submitted three proposals: Plan

H407/Plan H283 (Texas Latino Redistricting Task Force); Plan H411 (MALC); and Plan

H328 (Defendants).

       The Court will hear arguments and consider any related witness testimony and

evidence concerning the proposed remedial plans at 1:30 p.m. on Thursday, May 2, 2019.

Plaintiffs jointly shall have 1 hour to present evidence and arguments, and Defendants shall

have 1 hour to present evidence and arguments. The Court notes that it previously rejected the

Task Force’s proposal to use Plan H407/Plan H283 and thus directs Plaintiffs to focus their

efforts on Plan H411. Parties should file an opinion summary and/or expert report for any
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expert they intend to present, as well as a plan packet for their proposed plan (with a map and

relevant statistical data) no later than Thursday, April 25, 2019.

       The Court will also hear arguments on Plaintiffs’ request for bail-in relief under § 3(c)

of the Voting Rights Act. The Court will consider only whether Texas should be required to

submit for preclearance its plans for the Texas House and United States House in the next

decennial redistricting cycle, as well as any mid-decade proposals for such plans. Plaintiffs

jointly shall have 30 minutes to present arguments, and Defendants shall have 30 minutes to

present arguments.

        SIGNED this 28th day of March, 2019 on behalf of the Three-Judge Panel.




                                             XAVIER RODRIGUEZ
                                             UNITED STATES DISTRICT JUDGE




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